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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

Robin W. Sims,                              )
                                            )
           Plaintiff,                       )            COMPLAINT
                                            )
v.                                          )         CIVIL ACTION NO.
                                            )
LVNV Funding, LLC, a corporation,           )     JURY TRIAL DEMANDED
                                            )
           Defendant.                       )

                                   JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C.

     § 1692k(d).

2.   This action arises out of Defendant’s violations of the Fair Debt Collection

     Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) in its illegal efforts to collect a

     consumer debt.

3.   Venue is proper in this District because the acts and transactions occurred here,

     Plaintiff resides here, and Defendant transacts business here.

                                       PARTIES

4.   The Plaintiff, Robin W. Sims, is a natural person who resides in the City of

     Huntsville, County of Madison, State of Alabama, and is a “consumer” as that term

     is defined by 15 U.S.C. § 1692a(3).




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5.   Defendant LVNV Funding, LLC, is a collection agency operating from an address

     of 625 Pilot Road, Suite 3, Las Vegas, Nevada 89119, and is a “debt collector” as

     that term is defined by 15 U.S.C. § 1692a(6).

                             FACTUAL ALLEGATIONS

6.   The Defendant, LVNV Funding, LLC, filed a lawsuit against the Plaintiff, Robin

     W. Sims, on April 5, 2010. As part of its lawsuit against the Plaintiff, the

     Defendant stated that Robin W. Sims owed the Defendant, as assignee for Sears

     Card, the sum of $4,394.79 along with $1,687.60 for interest for a total of

     $6,082.39 plus additional interest at the rate of 6% per annum from January 15,

     2010 until paid, and all costs. See Exhibit A.

7.   The Plaintiff was served with this lawsuit by the Defendant. Panicked and upset,

     she did not know what to do and she spent time and energy worrying about her

     property and what this would mean to her.

8.   The Plaintiff hired a lawyer to defend herself on her lawsuit. An Answer was filed

     in this lawsuit on April 19, 2010 in the Circuit Court of Madison County. The

     Plaintiff asserted that the debt she owed to Sears had been paid off over 25 years

     ago and that any alleged outstanding debt that she may have had was more than six

     years old and, therefore, violated the statute of limitations. See Exhibit B.

9.   As part of her Answer, the Plaintiff submitted an affidavit regarding the alleged

     debt. The Plaintiff stated that she has never had a contract with the Defendant and

     has never owed any type of debt at all to the Defendant. The Plaintiff further stated

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      that she disputed the debt and that she has not been provided with documentation

      showing that she incurred the debt with the Defendant. Additionally, the Defendant

      stated that the only debt she had ever had with Sears was no more than $600, that

      the debt was paid off over 25 years ago and she has not used the Sears credit card

      since. She further stated that the lawsuit violated the statute of limitations as the

      disputed debt was time-barred. See Exhibit C.

10.   The case was set for trial on October 12, 2010. At that time, Madison County

      Circuit Judge O’Dell entered judgment in favor of Robin W. Sims. See Exhibit D.

11.   The conduct of Defendant in harassing Plaintiff Robin W. Sims in an effort to

      collect this debt was a violation of numerous and multiple provisions of the

      FDCPA, including but not limited to 15 U.S.C. § 1692(e) and 1692(f). The

      Plaintiff further relies upon the case of Kimber v. Federal Financial Corp., 668 F.

      Supp. 1480, 1487 (M.D. Ala. 1987) which provides that “a debt collector’s filing

      of a lawsuit on a debt that appears to be time-barred, without the debt collector

      having first determined after a reasonable inquiry that the limitations period has

      been or should be tolled, is an unfair and unconscionable means of collecting the

      debt.”

12.   The Plaintiff was extremely upset, humiliated, scared and embarrassed when she

      was served with the lawsuit by the Defendant. This public record needlessly

      humiliated her and others were obviously aware of this lawsuit that had been filed




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      against her. She also had to work very hard to earn funds to pay an attorney to

      represent her against the Defendant in the lawsuit filed in the state court.

                                          Summary

13.   Plaintiff has suffered actual damages as a result of these illegal collection

      communications in the form of humiliation, anger, anxiety, emotional distress,

      fear, frustration, and embarrassment, amongst other negative emotions.

                                      TRIAL BY JURY

14.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

      amend. 7. Fed.R.Civ.P.38.

                                    CAUSES OF ACTION

                                          COUNT I.

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                    15 U.S.C. §1692 et seq.

15.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

16.   The foregoing acts and omissions of the Defendant constitute numerous and

      multiple violations of the FDCPA including, but not limited to, each and every one

      of the above-cited provisions of the FDCPA, 15 U.S.C. §1692 et seq.

17.   As a result of the Defendant’s violations of the FDCPA, Plaintiff is therefore

      entitled to actual damages pursuant to 15 U.S.C. §1692k(a)(1); statutory damages

      in an amount up to $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A); and,

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     reasonable attorney’s fees and costs pursuant to 15 U.S.C. §1692k(a)(3) from the

     Defendant herein.

                               PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against the Defendant:

                                        COUNT I.

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                15 U.S.C. §1692 et seq.

1.   for an award of actual damages pursuant to 15 U.S.C. §1692k(a)(1) against the

     Defendant and for the Plaintiff;

2.   for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

     §1692k(a)(2)(A) against the Defendant and for the Plaintiff;

3.   for an award of costs of litigation and reasonable attorney’s fees pursuant to 15

     U.S.C. §1692k(a)(3) against the Defendant and for the Plaintiff;

     Dated: November 29, 2010                   Respectfully submitted,

                                                BOND, BOTES, SYKSTUS,
                                                TANNER & EZZELL, P.C.

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